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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

RONALD GREEN,

        Plaintiff,

v.                                                 Case No. 2:2-cv- 02675-MSN-tmp


ANGELA OWENS,

      Defendant.
______________________________________________________________________________

                                 JUDGMENT
______________________________________________________________________________

JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint (ECF

No. 1), filed September 4, 2020,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the

Order Granting Respondent’s Motion to Dismiss Petition, filed September 22, 2021, (ECF No.

38), settling this matter between the parties and dismissing all claims against Defendants with

prejudice, all claims against Defendants are hereby DISMISSED WITH PREJUDICE.

APPROVED: s/ Mark S. Norris
          MARK S. NORRIS
          UNITED STATES DISTRICT JUDGE

DATE:           September 28, 2021
